           Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 1 of 9




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

    IN RE: PHILIPS RECALLED CPAP,                 )
    BI-LEVEL PAP, AND MECHANICAL                  )      Master Docket: Misc. No. 21-1230
    VENTILATOR PRODUCTS                           )
    LIABILITY LITIGATION,                         )      MDL No. 3014
                                                  )
    This Document Relates to:                     )
                                                  )
    Fuentes v. Philips RS North Amer. LLC,        )
    2:22-cv-00130,                                )
                                                  )
    King v. Koninklijke Philips N.V., 2:23-       )
    cv-02040, and                                 )
                                                  )
    Spiekermier v. Koninklijke Philips N.V.,      )
    2:22-cv-01406.                                )


                         Omnibus Response In Opposition To Objections
                          To The Private Master Settlement Agreement

          On May 9, 2024, after years of litigation and extensive arm’s-length negotiation with the

assistance of the Court-appointed mediator, the Honorable Diane M. Welsh (Ret.), Plaintiffs’

Negotiating Counsel 1 (the “PNC”) and the Philips Defendants entered into a private master

settlement agreement (the “MSA”) intended to resolve the claims or potential claims of claimants

who have a Qualifying Injury and who allege that they sustained such a Qualifying Injury from (i)

use of one or more of the Recalled Devices, and/or (ii) any asserted defects, delays, or inadequacies

relating to the Philips RS recall programs. See MSA at 1. This private agreement establishes a

fund of $1.075 billion to compensate Eligible Claimants 2 who properly register to participate in


1
  Terms not defined herein have the same meaning as in the MSA, ECF No. 2768-1.
2
  As set forth in Article I of the MSA, Eligible Claimant means a United States Citizen or Resident
who, as of the applicable Identification Order Declaration Deadline, alleges a Qualifying Injury
caused by their use of one or more Recalled Devices and/or any asserted defects, delays or
inadequacies relating to the Philips RS recall programs, and either (i) retained counsel on or before
         Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 2 of 9




the settlement Program. The MSA is not a proposed class settlement and does not require anyone

to opt-out to avoid inclusion in, or having their claims affected by, the settlement. Instead, the

MSA offers each Eligible Claimant the individual opportunity to opt-in and receive compensation

in exchange for the release of that individual’s personal injury claims against the Philips

Defendants and other Released Parties.

         Despite the opt-in structure of this private agreement, three purported objections to the

MSA have been filed. 3 However, by their own terms, none of the objections are properly before

the Court and should be dismissed. “A district court is not a party to the settlement, nor may it

modify the terms of a voluntary settlement agreement between parties.” Ehrheart v. Verizon

Wireless, 609 F.3d 590, 593 (3d Cir. 2010) (citing Evans v. Jeff D., 475 U.S. 717 (1986)); May 9,

2024 Hr. Tr. at 10-11 (“[I]t’s your private settlement. . . . [I]t’s private and I’m not involved in

it.”).

         The May 10 motion, ECF No. 2780 (“Fuentes Mot.”), complains that Plaintiffs Vazquez

and Trinidad are ineligible to participate in the settlement Program and asks the Court to re-write

the private agreement to alter the definition of Qualifying Injury to render them Eligible Claimants.

The May 20 motion, ECF Nos. 2796–97 (“King Mot.”), joins the Fuentes motion and likewise

seeks to have the Court force the PNC and the Philips Defendants to renegotiate the MSA to

include all personal injury plaintiffs within the definition of Eligible Claimant. King Mot. at 17.



April 29, 2024 and is included on an Identification Order Declaration alleging a Qualifying Injury
by the applicable Identification Order Declaration Deadline, or (ii) is a pro se plaintiff who has
filed a Personal Injury Claim or Claims in the MDL Court or Massachusetts Court alleging a
Qualifying Injury or submits an Identification Order Declaration alleging a Qualifying Injury by
the applicable Identification Order Declaration Deadline.
3
  See Fuentes Urgent Motion Objecting to the Removal or Exclusion of Qualified Injury Claims
Established by the FDA Under Current Personal Injury Case Settlement Agreement (ECF No.
2780); Plaintiff King Motion to Reject the Personal Injury Settlement Agreement (ECF Nos. 2796–
97); and Mary Ann Spiekermeier Objection to Approval of Proposed MSA (ECF No. 2804).
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        Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 3 of 9




The May 28 objection, ECF No. 2804 (“Spiekermeier Obj.”), asks the Court to amend the MSA

to avoid alleged conflicts with the ABA Model Rules of Professional Conduct. Spiekermeier Obj.

at 3. Because the objectors’ substantive legal rights are not affected by the MSA, the objectors

lack standing to challenge the MSA. See In re Vioxx Prod. Liab. Litig., 388 F. App’x 391, 395

(5th Cir. 2010).

A.     The objectors lack standing to challenge the MSA.

       “Standing is a prerequisite to a court’s exercise of jurisdiction . . . [and] ‘non-settling parties

generally have no standing to challenge [a] settlement.’” In re Xarelto (Rivaroxaban) Prod. Liab.

Litig., 2019 WL 6877651, at *3 (E.D. La. Dec. 17, 2019) (citing Doe v. Tangipahoa Par. Sch. Bd.,

494 F.3d 494, 496, n.1 (5th Cir. 2007) and quoting In re Vioxx Prod., 388 F. App’x at 395); see

also In re Fine Paper Litig. State of Wash., 632 F.2d 1081, 1087 (3d Cir. 1980) (“a nonsettling

party may not object to the terms of a settlement which do not affect its own rights”). “The

rationale behind this general rule is that settlement will not affect any substantive legal rights of

non-settling parties.” In re Vioxx, 388 F. App’x at 395 (citing Transam. Ref. Corp. v. Dravo Corp.,

952 F2.d 898, 900 (5th Cir. 1992)). Private opt-in settlements, like the MSA, cause no legal

prejudice to nonparticipants. See id.; In re Xarelto, 2019 WL 6877651, at *3; Agretti v. ANR

Freight Sys., Inc., 982 F.2d 242, 247 (7th Cir. 1992) (“[C]ourts have repeatedly held that a

settlement which does not prevent the later assertion of a non-settling party’s claims, although it

may force a second lawsuit against the dismissed parties, does not cause plain legal prejudice to

the non-settling party.”).

       The rule that non-settling parties lack standing is directly applicable where, as here, the

objectors cannot demonstrate any legal prejudice whatsoever. According to the objectors’ own

statements they are ineligible for the settlement Program created by the MSA. See Fuentes Mot.



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        Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 4 of 9




at 2; King Mot. at 2 n.1; ECF No. 904 (Spiekermeier short form complaint alleging only

Nonqualifying Injuries). Accordingly, the MSA has no effect on their legal rights. The objectors’

claims against the Philips Defendants—or any other potential defendant—are not released, not

modified, and not altered by the MSA. As was true before the MSA was signed, the objectors

remain free to litigate against the Philips Defendants whatever claims they believe can be

sustained. 4 Indeed, it is common for master settlement agreements in mass tort cases such as this

to be available only to those individuals who meet the negotiated criteria for eligibility, including

limits based on the type of injury alleged. For example, the Vioxx master settlement agreement

established a global program for resolving claims, that among other restrictions on eligibility, was

only available to those claimants who suffered a heart attack, ischemic stroke, or sudden cardiac

death, just three of the numerous injuries asserted in state and federal court. See In re Vioxx Prod.

Liab. Litig., 2008 WL 3285912, at *2-3 (E.D. La. Aug. 7, 2008).

       Similarly, the King motion’s arguments regarding the Identification Order and the Docket

Management Order are without merit, and King’s request for vacatur should be denied. As an

Ineligible Claimant, the Identification Order imposes no obligation on King. See ECF No. 2770

(requiring identification of Eligible Claimants). King’s motion does not actually provide any

reason why the Docket Management Order should be set aside, nor could it. Such orders are well

within the Court’s power, and common in multidistrict litigation, particularly in the wake of a

settlement. See, e.g., In re Am. Med. Sys., Inc. Pelvic Repair Sys. Prods. Liab. Litig., MDL No.

2325, Pretrial Order # 239, ECF No. 4272 (S.D.W. Va. June 7, 2017) (establishing requirements

for future claims against a defendant due to “recent settlement developments” of thousands of

claims after more than three years of litigation); In re Testosterone Replacement Therapy Prods.


4
  Plaintiff’s Co-lead Counsel corresponded with Fuentes’ counsel on Friday May 10, prior to the
filing of the objection to explain that the objectors’ rights were unimpaired.
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        Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 5 of 9




Liab. Litig., MDL No. 2545, Case Management Order No. 126, ECF No. 2716 at 1-2 (N.D. Ill.

June 11, 2018) (finding it appropriate to enter an order to manage remaining litigation in light of

the parties’ settlement agreements entered after years of litigation); In re Proton-Pump Inhibitor

Prods. Liab. Litig. (No. II), MDL 2789, Case Management Order No. 109, ECF 955 (D.N.J. Oct.

2, 2023) (recognizing the utility of docket control orders “when a defendant has taken steps to

settle a significant portion of the claims pending against it”) (collecting cases).

       Furthermore, King’s claim that the MSA includes a provision that requires Ineligible

Claimants to obtain new counsel or proceed pro se is simply incorrect—there is no such provision.

See MSA. To be clear, the claims of the objectors, and all Ineligible Claimants, are in no way

substantively affected by the MSA. The MSA imposes no Identification Order or Registration

obligation or deadline of any kind on the objectors, or on any Ineligible Claimant. Accordingly,

the objectors lack standing to challenge the MSA, and the motions must be denied. 5 See In re

Vioxx, 388 F. App’x at 395; In re Xarelto, 2019 WL 6877651, at *3.

B.     Rule 23(e) is inapplicable to the MSA, a private opt-in settlement.

       The objectors’ motions are not saved by their references to class action concepts, because

the MSA is not and does not purport to resolve any claims on a class-wide basis. The Fuentes

motion refers to Settlement Class Representatives and Proposed Settlement Class Counsel, Fuentes

Mot. ¶ 8, and calls the objectors “members of said class.” Fuentes Mot. ¶ 2. The King Motion and

the Spiekermeier Objection expressly invoke Federal Rule of Civil Procedure 23(e). King Mot. at

13; Spiekermeier Obj. at 3. However, Rule 23 does not apply because there is not now, nor has



5
  The accusation that Plaintiff’s leadership violated any ethical duties by negotiating with the
Philips Defendants an opt-in settlement that had various restrictions on eligibility is entirely
baseless. However, it bears repeating that there is no prejudice to any Ineligible Claimant. The
Personal Injury Claims of all Ineligible Claimants, including those with Nonqualifying Injuries,
are neither released nor at all affected by the MSA.
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        Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 6 of 9




there ever been a proposed personal injury class, personal injury class representatives, or personal

injury class counsel for personal injury cases in this MDL. See, e.g., PTO 28, PTO 28(b) (requiring

filing of individual short form personal injury complaints). Nor does the MSA purport to be a

class settlement or seek certification of a class of any kind. By its own terms, the MSA is a private

agreement between the PNC and the Philips Defendants that permits certain Eligible Claimants

the option to participate in the voluntary Settlement Program. MSA at 1; See May 9, 2024 Hr. Tr.

at 10-11. The MSA does not seek the resolution of any issue or right on a class-wide basis and

does not seek to relieve absent or non-participating individuals of any legal right. 6 In such

situations, where a private settlement agreement permits claimants to choose not to opt-in, these

same arguments have been rejected. See In re Xarelto, 2019 WL 6877651, at *2–3. As the

Supreme Court has explained, even in the class context, a court cannot require the parties to accept

a settlement to which they have not agreed. Evans, 475 U.S. at 726–27. Accordingly, the objectors’

requests that the Court modify the private MSA should be denied.

C.     The MSA complies with all ethical rules.

       Even if Spiekermeier had standing to challenge the MSA—which she does not, because

she is an Ineligible Claimant and, therefore, she and her counsel are unaffected by the MSA

including the challenged provisions—her purported objection should be denied. Spiekermeier



6
  The King Motion’s citation to In re Cincinnati Radiation Litigation, 1997 WL 1433832 (S.D.
Ohio Aug. 4, 1997), as a non-class case is mistaken. See id. at *1 (“As part of the proposed
settlement agreement, the proponents urged the Court to certify a ‘settlement class’ under Rules
23(b)(1) and 23(b)(2) of the Federal Rules of Civil Procedure.”). In re World Trade Center
Disaster Site Litigation, 834 F. Supp.2d 184 (S.D.N.Y. 2011), is also distinguishable, as the
proposed settlement carved up a capped fund created by a federal law, such that there was an
inherent relationship between the money paid to settling claimants and the money remaining for
future claimants. See id. at 188. This type of concern (inapplicable to the presently injured Mr.
King) is entirely absent here, where the settlement Program is not intended to compensate future
claimants, is not available to persons represented by counsel where that representation began after
April 29, 2024, and has no effect on the rights of those injured in the future. See MSA.
                                                 6
        Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 7 of 9




argues that two sections of the MSA create “inherent conflicts” for Eligible Claimants’ counsel:

Section 7.3 and Section 7.4. Not so. The PNC took care to ensure the MSA complied with the

applicable ethical rules, and the MSA is clear on its face that none of its terms “shall be interpreted

to require any Party, any Eligible Claimant, or any counsel to engage in any conduct that is a

violation of law and/or unethical under applicable ethical rules.” MSA § 11.11.

       Beyond the fact that attorneys whose clients are eligible for and opt into the settlement can

avail themselves of the safe harbor language to ensure that the applicable restrictions of local ethics

rules will govern, neither section cited by Spiekermeier evidences an ethical conflict, and both are

common in private mass settlements.          See, e.g., Exhibit A (3M Combat Arms settlement

agreement) at 20, Article 8; Exhibit B (Fosamax settlement agreement) at ¶¶ 64, 77.

       Spiekermeier’s objections are unsupported and without merit. The argument regarding

Section 7.3 appears to incorrectly rest on a belief that Section 7.3 “restrict(s) some of the largest

plaintiff-side firms from ever practicing against [the Released Parties].” Spiekermeier Obj. at 2.

However, Section 7.3 does not restrict any firm from practicing law against the Released Parties.

MSA § 7.3. Rather, Section 7.3 only asks counsel for Eligible Claimants who choose to participate

in the settlement to affirm that they are not presently advertising for new clients with claims

regarding injuries caused by the Recalled Devices against one of the Released Parties to the extent

permitted under the applicable ethical rules. Id.; see MSA § 11.11. Spiekermeier’s argument

regarding Section 7.4 is similarly incorrect. Any withdrawal from an Eligible Claimant is

expressly subject to court approval. MSA § 7.4. And by its express terms, Section 7.4 cannot

violate Model Rule 5.6 because it only applies “to the extent permitted by Rules 1.16 and 5.6 of

the ABA Model Rules of Professional Conduct (or their equivalent) in the relevant jurisdiction(s).




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        Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 8 of 9




MSA § 7.4; see MSA § 11.11. Spiekermeier fails to offer any reason to ignore the MSA’s plain

language.

       At bottom, the objectors ask the Court to modify the MSA, a private settlement to resolve

certain personal injury claims of certain claimants, for which they are ineligible. But the objectors

are unaffected by the MSA and remain free to pursue their claims against the Philips Defendants.

The purported objections do not challenge anything the Court has been asked to do, and a bare

desire to be eligible for compensation pursuant to a private settlement program is not a cognizable

harm. Accordingly, the motions and objections should be denied.



Dated: June 4, 2024                            Respectfully submitted,

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                                                 8
Case 2:21-mc-01230-JFC Document 2815 Filed 06/04/24 Page 9 of 9




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                               9
